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                             UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION
SYED A. ALI,                                       )
                                                   )
               PLAINTIFF,                          )   Case no.: 15-cv-06178
                                                   )
               v.                                  )
                                                   )
PORTFOLIO RECOVERY ASSOCIATES, LLC ) Judge Sharon Johnson Coleman
and BLITT & GAINES, P.C.                           ) Magistrate Judge Mary M. Rowland
and FREEDMAN ANSELMO LINDBERG, LLC )
n/k/a ANSELMO LINDBERG OLIVER, LLC                 )
                                                   )
               DEFENDANTS.                         )
YASMEEN ALI,                                       )
as natural parent and best friend of SHA, a minor, )
                                                   )
               PLAINTIFF,                          )   Case no.: 15-cv-11582
                                                   )
               v.                                  )
                                                   )
PORTFOLIO RECOVERY ASSOCIATES, LLC, )
and SANJAY S. JUTLA, and KEVIN J. EGAN,            )
                                                   )
               DEFENDANTS.                         )
SYED A. ALI,                                       )
                                                   )
               PLAINTIFF,                          )   Case no.: 16-cv-01581
                                                   )
               v.                                  )
                                                   )
PORTFOLIO RECOVERY ASSOCIATES, LLC, )
and KEVIN J. EGAN,                                 )
                                                   )
               DEFENDANTS.                         )
SYED A. ALI,                                       )
                                                   )
               PLAINTIFF,                          )   Case no.: 16-cv-03872
                                                   )
               v.                                  )
                                                   )
PORTFOLIO RECOVERY ASSOCIATES, LLC, )
                                                   )
               DEFENDANT.                          )



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              PLAINTIFFS’ MOTION TO ALTER OR AMEND JUDGMENT

       Plaintiffs, by and through undersigned counsel, and pursuant to Federal Rule of Civil

Procedure 59(e), moves to alter or amend the September 30, 2018, Memorandum Opinions and

Orders (Dkts. # 251-252) partially granting Defendant Portfolio Recovery Associates Motion for

Summary Judgment. Plaintiffs respectfully ask that these orders be altered or amended in two

ways: (1) to deny Defendant’s motion as to violations of § 1692f vis-à-vis Plaintiff Sayed A. Ali

and (2) to rule that Plaintiff provided sufficient evidence to show that the debt PRA was

attempting to collect from SHA (the “7779 Account”) was a consumer debt .

                                     Procedural Background

       Plaintiff Syed A. Ali filed his initial complaint on July 14, 2015 (Dkt. # 1) and this court

consolidated several other cases filed by Syed A. Ali, and his then-minor son, Syed H. Ali, on

April 25, 2016. (Dkt. # 66). The parties filed their cross-motions for summary judgment on April

24, 2017 (Dkt. # 170, 177, 178, 182), their responses to the cross-motions for summary judgment

on June 5, 2017 (Dkt. # 215, 217, 218, 220), and their replies on June 26, 2017 (Dkt. # 228, 229,

231, 233). This court issued its Memorandum Opinions and Orders for Syed H. Ali (Dkt. # 251)

(the “SHA Order”) and Syed A. Ali (Dkt. # 252) (the “SAA Order”) on September 30, 2018,

dismissing Defendant’s Blitt & Gaines, P.C. and Freedman Anselmo Lindberg, LLC from the

action and granting partial summary judgment for Defendant PRA, Kevin Egan and Sanjay Jutla,

and denying summary judgment for Plaintiffs.

                                         Legal Standard

       A Rule 59(e) Motion to Alter or Amend a Judgment is appropriate to correct manifest

errors of law or fact. See, Sigsworth v. City of Aurora, Ill., 487 F.3d 506, 512 (7th Cir. 2007); LB

Credit Corp. v. Resolution Trust Corp., 49 F.3d 1263, 1267 (7th Cir.1995). A motion for



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reconsideration is proper where “the Court has patently misunderstood a party … or has made an

error not of reasoning but of apprehension.” Bank of Waunakee v. Rochester Cheese Sales, Inc.,

906 F.2d 1185, 1191 (7th Cir.1990). The motion also performs a valuable function and is

premised on the principal of judicial economy, as it allows the court to “correct its own errors

and thus avoid unnecessary appellate procedure.” Moro v. Shell Oil Co., 91 F.3d 872, 876 (7th

Cir.1996).

                                             Argument

  I.   A consumer can seek relief under both 15 U.S.C. § 1692e and § 1692f

       This Court granted summary judgment to Defendant PRA on Plaintiff SAA’s § 1692f

claims because the Court ruled that SAA sought “relief for the same harm alleged under the

Section 1692e—that the collection efforts, fee requests, fraud letter, and lawsuit were unlawful

practices” and that “SAA cannot recover twice for the same conduct.” (SAA Order, p. 17.) But

SAA is not seeking a double recovery. It is well settled that a consumer’s recovery under the

FDCPA does not increase lockstep with each violation proven. See Portalatin v. Blatt,

Hasenmiller, Leibsker & Moore, LLC, 900 F.3d 377, 385-87 (7th Cir. 2018). Rather, the number

and types of FDCPA violations are one factor in determining the appropriate amount of statutory

damages. Thus, the violation of two separate sections of the FDCPA would not entitle SAA to a

double recovery of statutory damages, but instead would be one factor the Court (or jury) could

consider in determining statutory damages.

       The Seventh Circuit has observed that claims under § 1692f may proceed alongside

claims under § 1692e that arise from the same misconduct without implicating any issues of

double recovery. See Phillips v. Asset Acceptance, LLC, 736 F.3d 1076, 1079 (7th Cir. 2013)

(noting that if it was true that the debt collector sued the consumer after the statute of limitations



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on the claim had run, the collector’s suit would violate FDCPA, and citing both §§ 1692e and

1692f); McMillan v. Collection Professionals Inc., 455 F.3d 754, 762-65 (7th Cir. 2006) (holding

that a plaintiff's claims under both § 1692e and § 1692f, based on the same collection letter,

should not be dismissed); Fields v. Wilber Law Firm, P.C., 383 F.3d 562, 565-66 (7th Cir. 2004)

(same).

          There is nothing in the language of §§ 1692e or 1692f, or indeed anywhere in the

FDCPA, suggesting that these subsections are mutually exclusive. A consumer’s recovery for

statutory damages is capped at $1,000 per action, regardless of the number or types of violations.

See Portalatin, 900 F.3d at 385-87. While a violation of § 1692e does not automatically mean

that a violation of § 1692f occurred, finding a § 1692e violation should not preclude finding a

violation of § 1692f for the same misconduct.

          Indeed, finding that misconduct violated both § 1692e and § 1692f is relevant to the issue

of statutory damages. Under § 1692k(b), the factors for determining damages statutory damages

include “the frequency and persistence of noncompliance by the debt collector, the nature of

such noncompliance, and the extent to which such noncompliance was intentional . . . .” 15

U.S.C. § 1692k(b). Finding that PRA violated both § 1692e and § 1692f speaks to these factors.

Additional violations indicates a greater “frequency and persistence” that supports a higher

damages award. Multiple types of violations shows that “the nature of such noncompliance” was

broader than only one type of violation, and also supports a higher damage award. None of these

factors will result in SAA getting more statutory damages than the $1,000 cap, but they will

impact whether SAA is entitled to the full $1,000 or something lesser.

          This court cites Rhone v. Med. Bus. Bureau, LLC, No. 16 C 5215, 2017 U.S. Dist. LEXIS

177800, at *6-7 (N.D. Ill. Oct. 25, 2017)(Der Yeghiayan, J.) for the proposition that liability



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under 1692e forecloses liability under 1692f. But Rhone is directly at odds with established

Seventh Circuit precedent, including Phillips, McMillan, and Fields. This Court should discard

Rhone as the outlier that it is, and instead follow the path set forth by the Seventh Circuit, which

supports finding that the same misconduct could violate both § 1692e and § 1692f.

 II.   Plaintiff provided sufficient evidence to show that the 7779 Account was a consumer
       debt

       The Court denied both parties’ summary judgment motions on the issue of whether the

SHA’s alleged debt was a consumer debt. Specifically, the Court noted that “SHA affirms that he

did not have any personal knowledge of the transactions underlying the 7779 Account debt.

Defendants also have not offered evidence of what type of underlying transaction generated the

debt”. (SHA Order, p. 6.) In making this ruling, the Court failed to consider the lower

evidentiary burden placed on FDCPA plaintiffs who were targeted for collection on debts they

do not owe.

       Several courts have held that the standard of proof on the “consumer” nature of a debt

must be lowered when an FDCPA plaintiff demonstrates that collection of the subject debt arose

from identify theft or mistaken identify. In other words, where a plaintiff never incurred the debt

to begin with, they are given more leeway in presenting evidence of the consumer nature of the

debt. This makes good sense, as the plaintiff whose identity was stolen or mistaken cannot

possibly know the intent or purpose of a third party in taking out a debt—particularly an

unknown third party.

       The court in Martin v. Allied Interstate, LLC confronted this issue directly. 192 F. Supp.

3d 1296, 1304-06 (S.D. Fla. 2016). The court, like the Court here, rejected the notion that “a

plaintiff’s assertion of identity theft or mistaken identity alone” is enough to establish a “debt”

under the FDCPA. Id. at 1306 (emphasis in original). But the Martin court also recognized that


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the burden of proof on a victim of identity theft or mistaken identity cannot be the same as the

burden on a true debtor. To that end, the court concluded that such a plaintiff “need not present

evidence of the intent or purpose of an unknown person in entering the transaction, but should

present evidence of the identity theft or mistaken identity along with some evidence showing that

the debt is consumer in nature.” Id. at 1306 (emphasis in original). See also Burton v. Kohn Law

Firm S.C., Case No. 16-CV-594, 2018 U.S. Dist. LEXIS 62821 (E.D. Wis. Apr. 13, 2018)

(“[I]dentity theft may also be a factor in determining the evidence needed to establish the

existence of a consumer debt.”); Boosahda v. Providence Dane LLC, 462 Fed. Appx. 331, 336 at

n. 7 (4th Cir. 2012) (nothing that a court should look at all relevant factors, including identity

theft, when making the consumer debt inquiry); Collins v. Portfolio Recovery Associates, LLC,

Case No. 2:12-CV-138, 2013 U.S. Dist. LEXIS 162624 (E.D. Tenn. June 7, 2013) (“The Court

believes that Defendants’ position—that a consumer cannot pursue an FDCPA action where she

alleges she lacks knowledge of the nature of the obligation because of identity theft—is

untenable.).

       As the victim of identity theft or mistaken identity, SHA cannot provide first-hand

knowledge regarding the purpose and intent behind the charges incurred on 7779 Account, and

he has no way of doing so. Instead, consistent with Martin, SHA has sufficiently shown that he

was a victim of identity theft or mistaken identity and he has provided some evidence of the

consumer nature of the 7779 Account. As to identity theft or mistaken identify, SHA presented

evidence showing that the social security number attached to the 7779 Account was not SHA’s

social security number, nor that of his father. (Defendant PRA’s Response to Plaintiff SHA’s

Statement of Material Facts (hereafter, “DRSMF”), Dkt. # 214, ¶ 8.) This shows that SHA was

either the victim of identity theft, or, more likely, mistaken by PRA as the debtor on the 7779



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Account. Moreover, SHA was a minor at the time the 7779 Account was created, and thus could

not have legally incurred it. PRA has also admitted that SHA is not personally liable for 7779

Account. (DRSMF ¶ 10.)

         SHA has likewise provided some evidence of the consumer nature of the 7779 Account

that justifies judgment in his favor. First, the evidence shows that PRA treated the 7779 Account

as a consumer debt. Communications from PRA indicated that it was a debt collector, subject to

the FDCPA, attempting to collect a debt. (SHA Order, p. 6.) It also appears that PRA treated the

debt as a consumer debt. For example, PRA sued SHA in his individual capacity and not as a

representative of any business and no business was named in the lawsuit. (DRSMF ¶ 33.) This

evidence alone is not dispositive, since a debt collector may treat a debt of unknown origin as a

consumer debt out of an abundance of caution. (SHA Order, p. 6.) But it serves as some evidence

in favor of the debt being consumer in nature.

         Second, the evidence demonstrates that nearly every debt that PRA attempts to collect is

a consumer debt. (DRSMF ¶ 12-13.)1 PRA’s Account Representative Training Manual state that

PRA “purchases and manages portfolios of defaulted and bankruptcy consumer receivables” and

that PRA’s “primary business is the purchase and liquidated of distressed consumer debt.” (Id. ¶

12 (emphasis added).) The Court correctly observed that PRA’s “status as debt collectors under

FDCPA is not automatically dispositive of the consumer debt issue because the evidence does

not show that defendants exclusively collect consumer debts.” (SHA Order, p. 6.) Plaintiffs do

not demand that such evidence be automatically dispositive. But the nature of PRA’s business,

with its near-exclusive focus on consumer debts, qualifies as some evidence that the 7779


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  While PRA disputes the materiality of these facts and states that it does not “exclusively” collect consumer debt,
this is not the contention of these statements, which cite PRA’s own training manual indicating that “PRA’s
‘primary business is the purchase and liquidation of distressed consumer debt”. Plaintiff SHA’s Statement of
Material Facts, Dkt. # 214, ¶ 12.

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Account was indeed a consumer debt. If the nature of the debt is ultimately unknown (and PRA

has produced no evidence of its genesis), and the vast majority of debts that PRA collects are

consumer in nature, it is reasonable to conclude that it is more likely than not that this debt

would also be consumer in nature.

       Third, PRA filed the lawsuit against SHA individually, and sent communications to SHA

individually. Nowhere does PRA ever reference a business of any kind, in its letters or in its

collection complaint. (DRSMF ¶ 12.) Similarly, the “load data” and credit statements that PRA

produced for the 7779 Account make no reference to any business. Instead, they identify only an

individual with the same name as SHA, and such individual’s personally identifying information.

(Plaintiff SHA’s Statement of Material Facts, Dkt. # 214, ¶ 19.) While it is certainly possible to

maintain records and take collection action on a business debt without ever referencing a

business from only an individual without referencing any business, the more probably conclusion

is that the absence of any reference to a business means there was no connection to any business.

Once again, this is some evidence that the debt was consumer in nature.

       Fourth, PRA has not cited any evidence of any kind suggesting that the 7779 Account is a

non-consumer debt. (DRSMF ¶ 11.) As a result, the only evidence before the Court supports

SHA’s claim that the 7779 Account is a consumer debt. While the evidence is not direct

testimony of the debtor’s intentions that would be automatically dispositive, the Martin and

Burton cases demonstrate that such evidence is unnecessary in cases involving identity theft or

mistaken identity.

       What SHA has produced is, quite literally, every possible thing that a similarly situated

plaintiff could produce to demonstrate the consumer nature of a debt he or she never incurred.

The person who actually incurred the debt refused to show up for a scheduled deposition, so his



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testimony is unavailable.2 And the statements or other papers for the 7779 Account would add no

support. The specific items that a person bought do not and cannot speak to the purpose for

which they were bought. See Burton, 2018 U.S. Dist. LEXIS 62821 at.*15 (charges on billing

statement from gas station and office supply store “do not facially show that the charges were

made for personal use”).

        As such, SHA has produced the only evidence that a similarly situated victim of identity

theft or mistaken identity could possibly produce to demonstrate the consumer nature of the debt:

(1) evidence showing that the debt collector treated the debt like a consumer debt; (2) evidence

showing that the debt collector almost exclusive collects consumer debts, leaving only a small

chance that this particular debt is non-consumer; and (3) the available records about the debtor

showing that no business was ever involved with the debt. Following Burton and Martin, this is

certainly enough evidence for the Court to decide that the 7779 Account was indeed a consumer

debt.

        PRA’s complete lack of contrary evidence, combined with SHA’s showing, is dispositive

of the consumer-debt issue. With no evidence at all to suggest that the 7779 Account was non-

consumer, in contrast to SHA’s evidence showing that the 7779 Account likely was a consumer

debt, no reasonable jury could conclude that it was a non-consumer debt. As such, the Court

should grant judgment in SHA’s favor on this issue. See Old Republic Ins. Co. v. Fed. Crop. Inc.

Corp., 947 F.2d 269, 273-74 (7th Cir. 1991) (summary judgment is appropriate “when the record

reveals that no reasonable jury could find for the non-moving party”).

        Moreover, there is no doubt that SHA is a “consumer” under the FDCPA. Notably, the

Court specifically found that SHA’s father, Syed Asad Ali (“SAA”), was a consumer obligated


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  PRA issued a subpoena to a Syed H. Ali at 13518 Venice Villa Lane, Sugar Land, Texas 77498, demanding this
individual appear for a deposition in Houston Texas on January 5, 2017. However, no such individual appeared.

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to pay a debt, citing Dunham v. Portfolio Recovery Assocs., LLC, 663 F.3d 997, 1002 (8th Cir.

2011). (SAA Order, p. 9.) As the Court noted:

       The FDCPA defines “consumers” as “any natural person obligated or allegedly obligated
       to pay any debt.” 15 U.S.C. § 1692a(3). Courts have read Section 1692a(3) to include
       individuals who are mistakenly dunned by debt collectors. Dunham v. Portfolio Recovery
       Assocs., LLC, 663 F.3d 997, 1002 (8th Cir. 2011). Therefore, even if defendants sought
       to collect from SAA, mistakenly believing he was the Debtor because he shared the same
       name and address on the account, SAA is still a consumer under the FDCPA.
       Accordingly, this element is satisfied.


       Thus, Defendants’ attempt to collect money from SAA, even if by mistake, placed SAA

in the position of a consumer vis-à-vis the FDCPA. (Id.) The reasoning is equally applicable to

SHA in this case, as there is no dispute that the collection of the alleged debt from SHA (a

minor) was by mistake, whether it was due to identity theft or just mistaken identity. Either way,

because of this fact, he is a “consumer” under Dunham and this Court’s reasoning as to SAA, his

father. As SHA was mistakenly collected from, he is a consumer. Since he is a “consumer” under

section 1692a(3)— allegedly obligated to pay any debt—the obligation he owed must, by

definition, be construed as a “debt” as that term is understood and used in the FDCPA.

       Further, after the Court rendered its decision, the Seventh Circuit issued an opinion

clarifying whether a consumer who has alleged that they are the victim of identity theft or

mistaken identity can be a consumer under the FDCPA, even though they did not incur the debt.

Loja v. Main Street Acquisition Corporation., App. No. 17-2477, 2018 U.S. App. LEXIS 29400

(7th Cir., Oct. 18, 2018). In Loja, the plaintiff was sued by a debt collector on a debt he claimed

was not his. The Seventh Circuit ruled that the plaintiff still qualified as a “consumer” even

though he did not owe the debt and had no knowledge of its purpose, explaining that “the text of

15 U.S.C. §1692a(3) does not limit ‘alleged’ to obligations alleged by the consumer. The 7th

Circuit could not have been more clear in stating that, despite that Loja admittedly had no

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knowledge as to the origin or nature of the debt, “We agree that based on the text of the FDCPA

and circuit precedent Loja is a qualifying consumer for purposes of the FDCPA.” Id. at *2. The

word applies generally and consequently includes obligations alleged by a debt collector as well.

Id. at *5 (emphasis in original). While the Loja court did not expressly state whether the alleged

debt would automatically be considered a “debt” under the FDCPA, the fact that one allegedly

obligated to owe a debt is automatically deemed a consumer under the FDCPA, without needing

to prove the nature of the debt, supports the reduced evidentiary burden set forth in Martin and

other cases.

        None of SHA’s evidence of the consumer nature of the 7779 Account, in isolation, is

dispositive on whether the alleged debt is a consumer debt. In combination and in light of SHA’s

status as a victim of identity theft or mistaken identity, However, they are enough to support

summary judgment. Contrasting this with PRA’s complete and utter lack of evidence that the

debt was anything but consumer in nature, judgment should be granted to SHA as a matter of law

on this issue.

                                           Conclusion

        Because Plaintiffs are entitled to seek relief under both 15 U.S.C. § 1692e and § 1692f,

and because Plaintiff provided sufficient evidence to show that the debt PRA was attempting to

collect was a consumer debt, the Plaintiffs respectfully request this Court amend or alter its

Order of September 30, 2018, granting partial summary judgment to Defendant Portfolio

Recovery Associates, LLC, Kevin Egan and Sanjay Jutla.



                                                                  By:    /s/ Bryan Paul Thompson




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Bryan Paul Thompson
Robert W. Harrer
Chicago Consumer Law Center, P.C.
111 West Washington Street, Suite 1360
Chicago, Illinois 60602
Tel. 312-858-3239
Fax 312-610-5646
bryan.thompson@cclc-law.com
rob.harrer@cclc-law.com

Daniel Brown (ARDC # 6299184)
Main Street Attorney, LLC
PO Box 247
Chicago, IL 60690
Ph: (773) 453-7410
Fx: (773) 453-6420
daniel@mainstreetattorney.com

Mario Kris Kasalo
The Law Office of M. Kris Kasalo, Ltd.
20 North Clark Street, Suite 3100
Chicago, IL 60602
Tel 312-726-6160
mario.kasalo@kasalolaw.com




                               CERTIFICATE OF SERVICE

        I, Bryan Paul Thompson, hereby certify that on November 13, 2018, I caused a true and
accurate copy of the foregoing document to be filed via the courts CM/ECF online system, which
sent notice via email to all counsel of record.

                                                  Respectfully submitted,
                                                  By: s/ Bryan Paul Thompson




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